Case 1:24-cv-00021-MN Document 18-1 Filed 03/04/24 Page 1 of 1 PageID #: 128




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF DELAWARE


 THE EXCELLENT THE EXCELLENT RAJ
 K. PATEL, from all capacities,
                                                    No. 1:24-cv-0021-MN
                                        Plaintiff

            v.

 THE UNITED PARCEL SERVICES INC.,

                                      Defendant

                   PLAINTIFF RAJ K. PATEL’S FED. R. CIV. P. 55(b)(1)
                     ENTRY OF DEFAULT JUDGMENT BY CLERK

       COMES NOW the Clerk of Court after receiving Plaintiff Raj K. Patel Fed. R. Civ. P. 55

application for Default Judgement. Under Fed. R. Civ. P. 55(b)(1), the clerk “must” enter default

judgment.

       Defendant The United Parcel Services, Inc. shall cause payment to Plaintiff Raj K. Patel

for of $9,800,000.00 (nine million eight-hundred thousand dollars) in damages and $50 (fifty

dollars) in costs, for a total of $9,800,050.00 (nine million eight-hundred thousand and fifty

dollars). Fed. R. Civ. P. 55(b)(1). The recovery shall carry the interest at the rate of twenty (20)

percent annum from the date of this judgment.

       Plaintiff Patel shall pay the filing of $405.00 upon receiving compensation.

       SO ORDERED this _______ day of March 2024.




                                                       __________________________________
                                                               RANDALL C. LOHAN
                                                          United States District Court for the
                                                              District of Delaware Clerk
